                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 KATHRYN OTICO,                                     Case No. 16-cv-02557-VC
                Plaintiff,
                                                    ORDER OF DISMISSAL
         v.

 HAWAIIAN AIRLINES, INC.,
                Defendant.



       The Court has been advised by the Notice of Settlement filed on January 17, 2017 that

the parties have resolved this case through settlement. (Dkt. No. 64). Therefore, it is

ORDERED that this case is DISMISSED without prejudice. All deadlines and hearings in the

case are vacated. Any pending motions are moot.

       The parties retain the right to reopen this action within 60 days of this Order if the

settlement is not consummated. If a request to reinstate the case is not filed and served on
opposing counsel within 60 days, the dismissal will be with prejudice.

       IT IS SO ORDERED.

Dated: January 18, 2017
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
